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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )


          DEFENDANT PAUL J. MANAFORT, JR.’S NOTICE REGARDING
     APPEARANCE ON DATE THAT JURY QUESTIONNAIRES ARE COMPLETED


        Defendant Paul J. Manafort, Jr., by and through counsel, hereby provides notice

that pursuant to his waiver of appearance for pretrial proceedings (Dkt. # 387) he does not

wish to appear on the date that the jury questionnaires are to be completed.

Dated: August 28, 2018                               Respectfully submitted,

                                                      /s/
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                                    Paul J. Manafort, Jr.




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